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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 15–06–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 DELBERT WILLIS,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 11, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Delbert Willis’s guilty plea

after Willis appeared before him pursuant to Federal Rule of Criminal Procedure

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11, and entered a plea of guilty to: (1) conspiring with the intent to distribute, and

to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1) and 846

(Count I), 2252A(a)(5)(B) (Count I); (2) one count of distributing heroin in

violation of 21 U.S.C. § 841(a)(1) (Count IV); and (3) one count of transporting a

person with the intent to have the person engage in criminal sexual activity in

violation of 18 U.S.C. § 2421 (Count X), all as set forth in the Indictment. In

exchange for Defendant’s plea, the United States has agreed to dismiss Counts II,

III, V, IX, XI, XII, XIII, XIV, and XV of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

64), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Delbert Willis’s motion to change plea

(Doc. 30) is GRANTED and Delbert Willis is adjudged guilty as charged in

Counts I, IV, and X of the Indictment.

      DATED this 27th day of May, 2015.




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